Case 1:24-cv-00650-KMW-MJS Document 28 Filed 05/23/24 Page 1 of 5 PageID: 211



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE


  INDIGITECH, INC.,

                       Plaintiff,           Civil No. 24-650 (KMW/MJS)
              v.

  FIRST DATA MERCHANT SERVICES
  LLC, TELECHECK SERVICES, LLC,
  AND MONEY NETWORK FINANCIAL,
  LLC, et al.,

                      Defendants.


                             SCHEDULING ORDER

     This Scheduling Order confirms the directives given to
counsel at the scheduling conference pursuant to Rule 16, Federal
Rules of Civil Procedure on May 22, 2024 as well as the provisions
that shall be followed in all civil cases pending before Magistrate
Judge Skahill; and the Court noting the following appearances at
the scheduling conference: Lauren O’Donnell, Esquire appearing for
plaintiff; John Cleary, Esquire and Matthew Knoop, Esquire
appearing on behalf of the defendants; and for good cause shown:

      It is this 23rd day of May 2024, hereby ORDERED:

     1.   The parties, through counsel, shall exchange informal
discovery aimed at investigating the amounts of disputed payments,
if any, at issue in this case.

     2.   The parties shall make FED. R. CIV. P. 26(a) disclosures
on or before September 5, 2024.

     3.   By September 10, 2024, the parties shall forward a joint
letter to the Court stating that they have conferred pursuant to
Local Civil Rules 26.1(b)(2) and 26.1(d) concerning discovery of
digital information and advise whether the parties have agreed on
computer-based and other digital discovery matters. No issue will
be addressed unless the parties comply with Local Civil Rule
37.1(a)(1).
                                      1
Case 1:24-cv-00650-KMW-MJS Document 28 Filed 05/23/24 Page 2 of 5 PageID: 212




     4.   Initial written discovery requests shall be served by
September 12, 2024. Any responses, answers and objections to
initial written discovery requests shall be served in accordance
with Court Rules.

     5.   By September 5, 2024, the parties shall serve the Court
with an agreed upon Discovery Confidentiality Order that complies
with Local Civil Rule 5.3 or a copy of the latest version of the
Order with a list of the issues in dispute. Unless good cause is
shown, the parties shall use the form included as Appendix S to
the Local Civil Rules of Procedure. If the submitted version
differs from Appendix S, the parties must submit (1) a clean
version of the proposed order that is ready for signature, and (2)
an additional version that shall indicate in what respect(s) it
differs from Appendix S by bracketing or striking through materials
to be deleted and underlining materials to be added.

     6.   The time within which to seek amendments to the pleadings
or to add new parties will expire on November 6, 2024. Except as
otherwise permitted in the Federal and Local Rules of Civil
Procedure, leave of court is necessary to file an amended pleading.
Counsel shall comply with amended L. Civ. R. 15.1 which requires
motions to amend to state whether the motion is opposed. Counsel
shall meet and confer in-person or by phone about the issue.
Counsel shall also attach to their motion a form of the proposed
amended pleading that indicates in what respect(s) it differs from
the pleading it proposes to amend. If a party seeks to file a
motion to amend after the deadline set in the Scheduling Order,
that party must show good cause why the amendment could not have
been sought earlier.

     7.    Pretrial factual discovery will expire on December 20,
2024.   All pretrial discovery shall be concluded by that date.
All discovery disputes shall be presented to the Court in
accordance with Local Civil Rule 37.1(a)(1), and the procedures
set forth in this Order, before the expiration of pretrial factual
discovery.

     8.   Counsel shall meet and confer in a good faith attempt to
informally resolve any and all discovery or case management
disputes before seeking the Court’s intervention. See Local Civil
Rule 37.1(a)(1). Absent exigent circumstances, the Court expects
parties to "meet and confer" in-person or via telephone before
making a discovery application, rather than just exchanging
                                      2
Case 1:24-cv-00650-KMW-MJS Document 28 Filed 05/23/24 Page 3 of 5 PageID: 213



letters or e-mails.      Should such informal effort fail to resolve
the dispute:

            a. The party seeking the discovery shall submit, via ECF,
               a letter not to exceed ten (10) double-spaced pages,
               that sets forth: (1) a specific description of the
               discovery sought; (2) the relevance of the discovery;
               (3) an explanation of the parties’ efforts to meet
               and confer to resolve the dispute; and (4) any
               appropriate legal argument.

            b. The party opposing the request may submit within seven
               (7) calendar days, a letter, via ECF, in response that
               shall not exceed ten (10) double-spaced pages setting
               forth any factual considerations and legal argument.
               Failure to respond within seven days of the filing of
               the initial letter will be deemed a waiver of any
               objection to the discovery requests(s).

            c. No further submissions regarding the dispute may be
               submitted without leave of the Court. If necessary,
               the Court will thereafter schedule a telephone
               conference to resolve the dispute.

     Failure by any party to meet and confer in good faith will
result in the Court deeming that party to have waived its right to
take a position on the discovery issue(s) in dispute. The parties
should promptly bring any unresolved issue to the Court’s attention
and should not wait until the close of discovery to address a
dispute.

     No discovery motion or motions for sanctions for failure to
provide discovery shall be filed before utilizing the procedures
set forth above without prior leave of the Court.

     9.   All depositions are to be conducted in accordance with
the procedures set forth in Hall v. Clifton Precision, 150 F.R.D.
525 (E.D.Pa. 1993). Per the agreement between counsel in the joint
discovery plan, there will be a maximum of 8 depositions to be
taken by each party.

     10. Affirmative expert reports and expert disclosures
pursuant to FED. R. CIV. P. 26(a)(2) shall be served by January
20, 2025. Responsive expert reports and expert disclosures
pursuant to FED. R. CIV. P. 26(a)(2) shall be served by February
                                      3
Case 1:24-cv-00650-KMW-MJS Document 28 Filed 05/23/24 Page 4 of 5 PageID: 214



20, 2025. Each such report should be accompanied by the curriculum
vitae of the proposed expert witness. Depositions of proposed
expert witnesses shall be concluded by March 20, 2025.

          For purposes of this scheduling order, if applicable,
treating physicians shall not be considered expert witnesses and
shall be treated as fact witnesses who are, however, required to
provide reports and records concerning their treatment. However,
any doctor who is going to express an opinion as to the cause of
a particular condition or as to the future prognosis of a
particular condition shall be considered an expert subject to the
requirements of Fed. R. Civ. P. 26(a)(2)(B).

          The parties shall also exchange, in accordance with the
foregoing schedule, written statements identifying all opinion
testimony counsel and the parties anticipate will be presented at
trial pursuant to F. R. Evid. 701 and Teen-Ed v. Kimball
International, Inc., 620 F.2d 399 (3d Cir. 1980).

     11. Any required statement concerning the disclosure of
third-party litigation funding, as set forth in Local Civil Rule
7.1.1 (eff. June 21, 2021), shall be filed by June 3, 2024. Local
Civil Rule 7.1.1 does not require the filing of a negative
statement to the effect that no third-party funding exists in the
case.

     12. Dispositive motions shall be filed with the Clerk of the
Court no later than May 5, 2025, in accordance with the applicable
Federal and Local Rules of Civil Procedure.     Opposition to the
motion shall be served in a timely fashion. Counsel are to follow
Local Civil Rules 7.1, 7.2, 56.1, and 78.1 (Motion Practice –
Generally).   This Order is subject to the Individual Rules and
Procedures (if any) of the presiding District Judge.

     13. The Court will conduct a telephone status conference on
July 18, 2024 at 2:00 p.m. All counsel shall dial 1-856-210-8988,
Access Code: 268 480 571# to connect to the call. Any discovery
dispute shall be brought to the Court’s attention in a timely
fashion and no later than seven days prior to the scheduled
conference. 1 All outstanding discovery issues not raised shall be

1 The parties should follow the letter application procedure set
forth in this Order in the event of any unresolved discovery
disputes and should not wait until the close of discovery to bring
any issues to the Court’s attention. Unless good cause exists,
                                      4
Case 1:24-cv-00650-KMW-MJS Document 28 Filed 05/23/24 Page 5 of 5 PageID: 215



deemed waived.

     14. Any application for an extension of time beyond the
deadlines set herein shall be made in writing to the Court and
served upon all counsel prior to expiration of the period sought
to be extended, and shall disclose in the application all such
extensions previously obtained, the precise reasons necessitating
the application showing good cause under FED. R. CIV. P. 16(b), and
whether adversary counsel agree with the application.           The
schedule set herein will not be extended unless good cause is
shown. All applications regarding motions returnable before a
District Judge shall be presented to the District Judge.

 THE FAILURE OF A PARTY OR ATTORNEY TO OBEY THIS ORDER MAY RESULT
      IN IMPOSITION OF SANCTIONS UNDER FED. R. CIV. P. 16(f).


                                      s/ Matthew J. Skahill
                                      MATTHEW J. SKAHILL
                                      United States Magistrate Judge



cc:   Honorable Karen M. Williams
      United States District Judge




the party seeking discovery shall raise any issue sufficiently in
advance of this conference so that the responding party may submit
a letter at least seven days prior to the conference.
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